& MACHTINGER LLP
1906 Avenue of the Stars, 21st Floor
Los Angeles, California 90067-4590

GREENBERG GLUSKER FIELDS CLAMAN

 

 

 

 

 

Cas@ 2:11-cv-03566-AHM-RZ Document1 Filed 04/26/11 Page1of13 Page ID #1
1 | BERTRAM FIELDS (SBN 024199)
Briclds@e firm.com
2 | CHARLES N. SHEPHARD (SBN 078129)
. CShephard@GreenbergGlusker.com
3 | AARON J. MOSS (SBN 190625)
AMoss(@GreenbergGlusker.com
4 1 GREENBERG GLUSKER FIELDS
CLAMAN & MACHTINGER LLP
5 | 1900 Avenue of the Stars, 21st Floor 2
Los Angeles, California 90067-4590 i
_6 | Telephone: 310.553.3610
Fax: 310.553.0687
7 Ty
Attorneys for Plaintiffs =
8 | Michael Chow known as “Mr. Chow,” . ry
Mr Chow Enterprises, Ltd.,a California, . 3
9 | Limited Partnership, MC Miami Enterprises, LLC, |
a Florida Limited Liability Company, IC Tribeca,
10 | LLC, a New York Limited Liability Company, and
H TC Ventures, Inc., a New York Corporation
12 UNITED STATES DISTRICT COURT
13 CENTRAL DISTRICT OF CALIFORNIA
14
15 | MICHAEL CHOW, known as “MR.
CHOW,” MR CHOW ENTERPRISES, | . oO |
16 | LTD., a California Limited Partnership, | COMPLAINT FOR LANHAM ACT
MC MIAMI ENTERPRISES, LLC, a VIOLATION, DILUTION OF
17 | Florida Limited Liability Company, FAMOUS NAME AND UNFAIR
MC TRIBECA, LLC, a New York COMPETITION
18 | Limited Liability Company, and TC
VENTURES, INC., a New York
19 | Corporation, DEMAND FOR JURY TRIAL
20 Plaintiffs,
21 VS.
22 | GIUSEPPE CIPRIANI, IGNAZIO
CIPRIANI, MAGGIO CIPRIANI and
23 | DOES 1 through 10,
24 Defendants.
25 :
26
27 Plaintiffs allege as follows:
28
582 16-00003/1762804.1 . COMPLAINT

 

 
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“Los Angeles, California 90067-4590

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& MACHTINGER LLP

Case 2:11-cv-03566-AHM-RZ Document1 Filed 04/26/11 Page 2of13 Page ID#:2

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co sx} DW Ww & W NY &- DT OO wna DH F&F WY VY YK ©

 

JURISDICTION AND VENUE
1. This is an action under the Lanham Act involving diversity of

citizenship and supplemental jurisdiction. Jurisdiction is based on 15 U.S.C.
§ 1121 (a), 28 U.S.C. §§ 1331, 1332, 1338(b) and 1367(a). Venue is proper in this

_ Judicial District based upon 28 U.S.C. §§ 1391(b) and (c).

FACTS RELEVANT TO EACH CLAIM

2. Plaintiff Michael Chow, widely known as “Mr, Chow,” is a resident of
California and the founder and creator of the “Mr. Chow” Restaurants and of the
“Mr. Chow” name and brand. Plaintiff Mr Chow Enterprises, Ltd. is a California
limited liability partnership that operates the “Mr. Chow” restaurant in Beverly
Hills, California. Plaintiff TC Ventures, Inc. isa New York corporation that
operates the “Mr. Chow” restaurant in mid-town Manhattan, New York. Plaintiff
MC Tribeca, LLC is a New York limited liability company that operates the “Mr.
Chow” restaurant in New York’s Tribeca area. Plaintiff MC Miami Enterprises,
LLC is a Florida limited liability company that operates the “Mr. Chow” restaurant
in Miami Beach, Florida. Michael Chow is an owner and officer of each of the
foregoing entities.

3. Plaintiffs are informed and believe and, on that ground, allege that
defendants Giuseppe Cipriani, Ignazio Cipriani and Maggio Cipriani are residents

of Italy doing business in California and in this District, that Giuseppe Cipriani is

| the senior and controlling person among defendants and that each of the defendants

acted as the agent of each of the other defendants in their conduct alleged herein.
The true names and capacities, whether individual, corporate, associate or
otherwise, of the defendants named herein as Does | through 10 are unknown to
plaintiffs who, therefore, sue said defendants by such fictitious names. Plaintiffs
will amend this complaint to show their true names and capacities when the same

have been ascertained. Plaintiffs are informed and believe, and thereon allege, that

58216-00003/1762804.1 2 COMPLAINT

 
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1 | Does 1 through 10 are responsible in some manner for the acts and transactions

2 | hereinafter alleged and are liable to plaintiffs therefor.

3 4. Over forty years ago, Michael Chow opened his first restaurant in

4 | London under the trade name “Mr. Chow.” The London “Mr. Chow” was and is

5 | highly successful and became widely known in many parts of the world. Since

6 | then, Michael Chow, through the remaining plaintiff entities, opened and still

7 | operates successful restaurants in Beverly Hills, New York and Miami, ali under

8 | the trade name “Mr. Chow.” These restaurants serve Michael Chow’s unique and

9 | highly styled interpretation of classic Chinese cuisine in a striking contemporary
10 setting. The legendary “Mr. Chow” restaurant in Beverly Hills was opened in 1974
11 | and has been enormously popular for over 30 years, not only with residents of
12 | Southern California, but with visitors to that area from all over the United States
13 | and the world.
14 5. Over the years, the name “Mr. Chow” has become a famous trade
15 | name and has acquired secondary meaning and good will as the unique and highly
16 | successful businesses operated under that name by plaintiffs and controlled and
17 | directed by Michael Chow.
18 6. Giuseppe Cipriani has operated hotels, restaurants and bars in various
19 || parts of the world. He has long been aware of the “Mr. Chow” restaurants and the
20 | value of the trade hame “Mr. Chow.” Since travelers from many parts of the United
21 | States and the world were familiar with that famous trade name, Michael Chow and
22 Giuseppe Cipriani discussed opening and operating a hotel together in Las Vegas,
23 | Nevada to be called “Mr. Chow,” a name they agreed was highly valuable for
24 | hotels, as well as restaurants.
25 7. Defendants have followed the pattern and practice of attempting to
26 | profit by adopting well known trade names that they knew were owned by others.
27 | At least twice, they have been sued for following that practice and forced to stop
28 | improperly doing business under such trade names.

$82 16-00003/1 762804 1 3 COMPLAINT

 

 
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8. Defendants are presently conducting a hotel business under the trade

name “C.” They have never operated any business under the name “Mr. C.” -

9. Defendants have now announced that they intend to open a hotel and
“signature restaurant” in Beverly Hills, and that, instead of their present name “C,”
the name of their new hotel and “signature restaurant” in Beverly Hills, near “Mr.
Chow,” will be “Mr. C.” |

10. There are, of course, thousands of names defendants could have -
chosen for their new hotel and restaurant, including “C” the name under which they
are presently doing business. Defendants have no need to change their trade name
from “C” to “Mr. C” for use in Beverly Hills near “Mr. Chow.” They have elected
to make that change and to use “Mr. C,” rather their present name “C,” solely
because their new location will be in close proximity to “Mr. Chow” in Beverly
Hills. In that way, they can create the false public impression that the new hotel
and “signature restaurant” in Beverly Hills called “Mr. C” is run or licensed by or

associated with the famous and successful “Mr. Chow” and thus appropriate to

‘themselves the good will built over decades by plaintiffs.

SECOND CLAIM FOR RELIEF
(Lanham Act Violation ~ Against All Defendants)

 

11. Plaintiffs incorporate by reference paragraphs 1 through 10
hereinabove as though fully set forth herein.
| 12. Defendants’ conduct will constitute a violation of Section 43(a) of the
Lanham Act, in that their use of the name “Mr. C” for their hotel and “signature
restaurant” in close proximity to the well known and successful “Mr. Chow”
restaurant in Beverly Hills will create likely confusion and the false public

impression that “Mr. C” is run by plaintiffs or somehow associated with them or the

famous “Mr. Chow” restaurants.

$8216-00003/1 762804. 1 4 COMPLAINT

 
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] At the same time, plaintiffs will likely be held responsible for the quality of
2 | the food, rooms, prices and service at “Mr. C,” although they have no control
3 | whatsoever over any of those things.
4 13. Defendant’s conduct alleged hereinabove will cause plaintiffs severe
5 | and irreparable harm for which plaintiffs have no adequate remedy at law, in that
6 | the full extent of the damages they will cause can never be fully ascertained.
7 | Accordingly, plaintiffs are entitled to injunctive relief.
8 | 14. Defendants’ conduct alleged hereinabove will cause plaintiffs
9 || substantial damages. To the limited extent such damages are ascertainable,
10 | plaintiffs are informed and believe and, on that ground, allege that such damages
11 | will exceed the sum of $10 million.
12 15, Defendants have not elected to use the name “Mr. C” near “Mr.
13 | Chow” in Beverly Hills out of any sincere or proper motive, but are doing so
14 | oppressively and fraudulently, with the intention of confusing and misleading the
15 | public and appropriating the good will of plaintiffs without compensation. This is
16 | not the first time defendants have tried to usurp a trade name they knew was not
17 | theirs. That has been their pattern and practice. Accordingly, plaintiffs are entitled
18 | to punitive damages and their reasonable attorneys’ fees.
19
20 THIRD CLAIM FOR RELIEF
2) (Dilution of Famous Trade Name — Against All Defendants)
22 16. Plaintiffs incorporate by reference paragraphs 1 through 10
23 | hereinabove as though fully set forth herein.
24 17. Defendants’ acts alleged hereinabove will cause substantial dilution of
25 | the famous trade name “Mr. Chow.” |
26 18. Defendants’ conduct alleged hereinabove will cause plaintiffs severe
27 | and irreparable harm for which plaintiffs have no adequate remedy at law, in that
28
$8216-00003/1 7628041 5 | COMPLAINT

 

 
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| | the full extent of the damages they will cause can never be fully ascertained.

2 | Accordingly, plaintiffs are entitled to injunctive relief.

3 19. Defendants’ conduct alleged hereinabove will cause plaintiffs

4 | substantial damages; but, to the limited extent such damages can be ascertained,

5 | plaintiffs are informed and believe and, on that ground, allege that such damages

6 | will exceed the sum of $10 million.

7 20. Defendants have not elected to use the name “Mr. C” near “Mr.

8 | Chow” in Beverly Hills out of any sincere or proper motive, but are doing so

9 | oppressively and fraudulently, with the intention of confusing and misleading the
10 | public and appropriating the good will of plaintiffs without compensation. This is
11 } not the first time defendants have tried to usurp a trade name they knew was not
12 | theirs. That has been their pattern and practice. Accordingly, plaintiffs are entitled
13 || to punitive damages and their reasonable attorneys’ fees.
14
15 FOURTH CLAIM FOR RELIEF
16 (Violation of California Business & Professions Code §17,200 et seq.)
17 21. Plaintiffs incorporate by reference paragraphs 1 through 10
18 | hereinabove as though fully set forth herein.
19 22. Defendants’ acts alleged hereinabove will constitute an unfair and
20 | fraudulent business practice and thus unfair competition as defined in California
21 | Business & Professions Code Section 17,200 et seq.
22 23. Defendants’ conduct alleged hereinabove will cause plaintiffs severe
23 | and irreparable harm for which plaintiffs have no adequate remedy at law, in that
24 | the full extent of the harm they will cause and the benefits they will reap can never
25 | be fully ascertained. Accordingly, plaintiffs are entitled to injunctive relief.
26 24. Although the full amount is not ascertainable, plaintiffs are informed
27 | and believe that defendants’ improper conduct will, to the limited extent
28 | ascertainable, entitle plaintiffs to restitution of a sum in excess of $10 million.

5821 6-00003/1762804.1 6 COMPLAINT

 

 
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Los Angeles, California 90067-4590

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25. Defendants have not elected to use the name “Mr. C” near “Mr.
Chow” in Beverly Hills out of any sincere or proper motive, but are doing so
oppressively and fraudulently, with the intention of confusing and misleading the
public and appropriating the good will of plaintiffs without compensation. This is
not the first time defendants have tried to usurp a trade name they knew was not
theirs. That has been their pattern and practice. Accordingly, plaintiffs are entitled

to punitive damages and their reasonable attorneys’ fees.

FIFTH CLAIM FOR RELIEF
(Common Law Unfair Competition)

26. Plaintiffs incorporate by reference paragraphs 1 through 10
hereinabove as though fully set forth herein.
. 27. Defendants’ announced plan to adopt, for the first time, the
deliberately confusing name “Mr. C” for their hotel and “signature restaurant” in
close proximity to the famous “Mr. Chow” restaurant in Beverly Hills will
constitute common law unfair competition under the laws of California.

28. Defendants’ conduct alleged hereinabove will cause plaintiffs

substantial damages, the full extent of which cannot be computed; but to the limited

extent such damages can be ascertained, plaintiffs are informed and believe and, on

that ground, allege that such damages will exceed the sum of $10 million.

29. Defendants’ conduct alleged hereinabove will cause plaintiffs severe
and irreparable harm for which plaintiffs have no adequate remedy at law, in that
the full extent of the damages they will cause can never be fully ascertained.
Accordingly, plaintiffs are entitled to injunctive relief.

30. Defendants have not elected to use the name “Mr. C” near “Mr.
Chow” in Beverly Hills out of any sincere or proper motive, but are doing so
oppressively and fraudulently, with the intention of confusing and misleading the

public and appropriating the good will of plaintiffs without compensation. This is —

$8216-00003/1762804.1 7 COMPLAINT

 
1900 Avenue of the Stars, Zist Floor
Los Angeles, California 90067-4590

GREENBERG GLUSKER FIELDS CLAMAN
& MACHTINGER LLP

Cas@ 2:11-cv-03566-AHM-RZ Document1 Filed 04/26/11 Page 8of13 Page ID#8

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not the first time defendants have tried to usurp a trade name they knew was not

theirs. That has been their pattern and practice. Accordingly, plaintiffs are entitled

to punitive damages and their reasonable attorneys’ fees.

WHEREFORE, plaintiffs pray judgment as follows:

1. For an injunction, permanently and pending judgment, precluding

defendants, or any of them, from using the name “Mr. C,” “Mr. Chow,” or any

confusing or similar name, for a hotel or restaurant;

2. For damages and restitution in such sums as shall be found;
3 For punitive damages;

4, For plaintiffs’ attorneys’ fees and costs of suit; and

5 For such other and further relief as the Court shall order.

DATED: April 2A, 2011

$82 16-00003/1 762804, 1

GREENBERG GLUSKER FIELDS
CLAMAN & MACHTINGER LLP

   

 

BERTRAM FIELDS
Attorneys for Plaintiffs Michael Chow
known as “Mr. Chow,” Mr Chow
Enterprises, Ltd., a California Limited
Partnership, MC Miami Enterprises, LLC, a
Florida Limited Liability Company, .

MC Tribeca, LLC, a New York Limited
Liability Company, and TC Ventures, Inc.,
a New York Corporation

8 COMPLAINT

 
& MACHTINGER LLP
1900 Avenue of the Stars, 21st Floor
Los Angeles, California 90067-4590

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Cas@ 2:11-cv-03566-AHM-RZ Document1 Filed 04/26/11 Page9of13 Page ID#9

 

1 DEMAND FOR JURY TRIAL

2 |

3 Plaintiffs Michael Chow known as “Mr. Chow,” Mr Chow Enterprises, Ltd.,
4 a California Limited Partnership, MC Miami Enterprises, LLC, a Florida Limited
; Liability Company, MC Tribeca, LLC, a New York Limited Liability Company, .
é and TC Ventures, INC., a New York Corporation, hereby demand a trial by jury in
4 the above entitled action. .

R : .

9 DATED: April@p., 2011 GREENBERG GLUSKER FIELDS

CLAMAN & MACHTINGER LLP

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BERTRAM FIELDS

12 Attorneys for Plaintiffs Michael Chow
known as “Mr. Chow,” Mr Chow

13 Enterprises, Ltd., a California Limited
Partnership, MC Miami Enterprises, LLC, a

14 Florida Limited Liability Company,
MC Tribeca, LLC, a New York Limited

15 Liability Company, and TC Ventures, Inc.,

16 a New York Corporation

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§8216-00003/1 762804. 9 COMPLAINT

 

 
Case 2:11-cv-03566-AHM-RZ Document1 Filed 04/26/11 Page 100f13 Page ID #:10

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge A. Howard Matz and the assigned
discovery Magistrate Judge is Ralph Zarefsky.

The case number on all documents filed with the Court should read as follows:

CV1il- 3566 AHM (RZx)

Pursuant to General Order 05-07 of the United States District Court for the Central

District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on ail plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division [.] Southern Division Eastern Division
312 N. Spring St., Rm, G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
BER FRSA HES tpag SHVERR Pogument 1 Filed 04/26/11 Page 11 o0f13 Page ID #11

SHEPHARD 078129; AARON J. MOSS 190625
GREENBERG GLUSKER FIELDS CLAMAN &
MACHTINGER LLP

1900 Avenue of the Stars, Suite 2100

Los Angeles, CA 90067-4590

Telephone: (310) 553-3610; Facsimile: (310) 553-0687
bfields@gggirm.com
cshephard@greenbergglusker.com
amoss@greenbergglusker.com

Attomeys for Plaintiffs

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

MICHAEL CHOW, known as "MR. CHOW," MR
CHOW ENTERPRISES, LTD., a California Limited
Partnership, MC MIAMI ENTERPRISES, LLC, a
Florida Limited Liability Company, MC TRIBECA,

LLC, a New York Limited Liability Company, and TC ].

VENTURES, INC., a New York Corporation,
PLAINTIFF(S)

Vv.

GIUSEPPE CIPRIANI, IGNAZIO CIPRIANI,
MAGGIO CIPRIANI and DOES 1 through 10,
DEFENDANT(S).

CASE NUMBER

CV 11-035 66arm(ypz)

 

 

 

SUMMONS

TO:DEFENDANT(S): GIUSEPPE CIPRIANI, IGNAZIO CIPRIANL MAGGIO CIPRIANI and DOES 1

through 10

A lawsuit has been filed against you.

Within 2} jays after service of this summons on you (not counting the day you received it), you

must serve on the plaintiff an answer to the attached [x] complaint [_]

amended complaint

[| counterclaim [ ] cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The’
answer or motion must be served on the plaintiffs’ attorneys, BERTRAM FIELDS, ESO. CHARLES N.
SHEPHARD, ESQ.; AARON J. MOSS., whose address is GREENBERG GLUSKER FIELDS CLAMAN
& MACHTINGER LLP 1900 Avenue of the Stars, Suite 2100, Los Angeles, CA. 90067-4590. If you fail to
do so, judgment by default will be entered against you for the relief demanded in the complaint. You also

must file your answer or motion with the court.

APR 26 201

Dated:

 

 

Clerk, U.S. District Cou:
WULIE Hea CAL

Deputy Clerk “~~

By: -

 

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed

60 days by Rule 12(a)(3)j}.

 

CV-O1A (12/07)

SUMMONS

 

American LegaiNet, Inc,
www.USCourtForms,com

 

 

 
 

Case 2:11- “CURE BDPSMINS DISTROCHIOODRT, CENTRAY DesTRICTOor CALMFGRNIRAGE ID #12

CIVIL COVER SHEET

 

I (a) PLAINTIFFS (Check box if you are representing yourself Lh
MICHAEL CHOW, known-as "MR, CHOW," MR CHOW
ENTERPRISES, LTD., a California Limited Partnership, MC MIAMI
ENTERPRISES, LLC, a Florida Limited Liability Company, MC
TRIBECA, LLC, a New York Limited Liability Company, and TC
VENTURES, INC., a New York Corporation,

DEFENDANTS

and DOES 1 through 10,

GIUSEPPE CIPRIANI, IGNAZIO CIPRIANI, MAGGIO CIPRIANI

 

(b}

yourself, provide same.)

Attorneys (Firm Name, Address and Telephone Number. if you are representing

Attorneys (If Known}

 

BERTRAM FIELDS (SBN 024199); CHARLES WN SHEPHARD
(SBN 078129); AARON J. MOSS (SBN 190625)

 

GREENBERG GLUSKER FIELDS CLAMAN & MACHTINGER LLP

 

1960 Avenue of the Stars, Suite 2100

 

Los Angeles, CA 90067-4590

 

 

iL BASIS OF JURISDICTION (Place an X in one box only.)

(310) 353-3610

{Place an X in one box for plaintiff and one for defendant.)

IH. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only _

 

LJ ius. Government Plaintiff

[] 2 U.S. Government Defendant

Bd 3 Federal Question (U.S,

of Parties in Item 17}

 

Government Not a Party

C1] 4 Diversity (Indicate Citizenship

Citizen or Subject of a Foreign Country Py 3 ba 3

 

 

PTF DEF PYF DEF

Citizen of This State bdi [)1. [Incorporated or Principal Place Pl4 (4
of Business-in this State

Citizen of Another State LJ2 £42 Incorporated and Principal Place []s [15

of Business in Another State

 

 

 

 

 

Foreign Nation Cle Fle
IV. ORIGIN (Place an X in one box only.)
EX] i Original [-] 2 Removed from #°] 3 Remanded fom _] 4 Reinstated or |] 5 Transferred from another district (specify): ] 6 Multi-  {[] 7 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge _

 

 

 

 

V. REQUESTED IN COMPLAINT: JURY DEMAND; Dd Yes [_} No (Check ‘Yes! only if demanded in complaint.)

 

CLASS ACTION under F.R.C.P. 23: [_} Yes [KUN

o

[4] MONEY DEMANDED IN COMPLAINT: $ [$10 million

 

 

VI. CAUSE OF ACTION (Cite the U.S. civ Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
15 U.S.C. § 112 1(a), 28 U.S.C. .8§ 1331, 1332, 1338(b), 1367(a), Lanham Act Violation, etc.

 

VL. NATURE OF SUIT (Place an X in one box only.)

 

  

  

 

 

 
  
  
  
 

 

 

    
 
  

  
  

   

 

 

 

   

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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400 State Reapportionment 110 Insurance 3 719 Fair Labor Standards

["} 410 Antitrast [2120 Marine L_] 310 Airplane [1510 Motions to Vacate Act

[7] 430 Banks and Banking —{_) 130 Miffer Act ([] 315 Airplane Product [L_] 370 Other Fraud Sentence Habeas |] 720 Labor/Mgmt.

[7] 450 Commeree/ICC E_} 140 Negotiable Instrument Liability _] 371 Truth in Lending Corpus Relations
Rates/etc. F7 150 Recovery of [7] 320 Assault, Libel & {[] 380 Other Personal jL_J 530 General (_] 730:-Labor/Mgmt.

[_} 460 Deportation Overpayment & Slander Property Damage __] 535 Death Penalty Reporting &

[_} 470 Racketeer Influenced Enforcement of [] 330 Fed. Employers j(_] 385 Property Damage {_] 540 Mandamus/ Disclosure Act
and Corrupt Judgment Liability . Product Liability Other (_] 740 Railway Labor Act
Organizations [7] 151 Medicare Act _] 340 Marine E oN] 550 Civil Rights {|} 790 Other Labor

[_] 480 Consumer Credit 7] 152 Recovery of Defaulted |] 345 Marine Product L_] 22 Appeal 28 USC |[_] $55 Prison Condition Litigation

["} 490 Cable/Sal TV Student Loan (Excl. Liability 158 [J 791 Empl. Ret, Inc,

("J 810 Seleétive Service Veterans} [-} 350 Motor Vehicle [_] 423 Withdrawal 28 Secusi

Li 850 Securities/Commodities! __] 153 Recovery of [[} 355 Motor Vehicle LJ 610 Agriculture *

Exchange Overpayment of Product Liability [7] 620 Other Food & [_] 826 Copyrights

[-] 875 Customer Challenge 12 Veteran's Benefits [_} 360 Other Personal [_] 441 Voting Drug [J 830 Patent
USC 3410 cl 160 Stockholders' Suits Injury Tl 442 Empicyment ‘a 625 Drug Related

890 Other Statutory Actions [J 190 Other Contract [1] 362 Personal injury- ["] 443 Housing/Acco- Seizare of

["] 891 Agricultural Act __] 195 Contract Product Med Malpractice mmodations Property 21 USC [[_] 61 HIA(1395f)

[J 892 Economic Stabilization Liability L_] 365 Personal Injury- |["]4aa Welfare 881 [_] 862 Black Lung (923)
Act (] 196 Franchise Product Liability [7] 445 American with [[,] 630 Liquor Laws ["] 363 DIWC/DIWW

[_j 893 Environmental Matters [.] 368 Asbestos Personal Disabilities—  [_] 640 RR.& Truck 405(p))

[_] 894 Energy Allocation Act] 210 Land Condemnation Injury Product Employment [[] 650 Airline Regs —([] 864 SS¥D Title XVI

[] 895 Freedom of Info. Act [_] 220 Foreclosure [J 446 American with — {["] 660 Occupational [] 865 RSI (405(z))

[] 900 Appeal of Fee Determi- |] 230 Rent Lease & Ejectment Disabilities — Safety /Health
nation Under Equal [7] 249 Torts to Land LI 462 Naturalization Other L] 690 Other [_] 870 Taxes (U.S, Plaintiff
Access to Justice ["] 245 Tort Product Liability Application [_] 440 Bi Civil or Defendant)

[_} 950 Constitutionafity of State] 290 All Other Real Property (1 463 Habeas Corpus- thts L] 871 IRS-Third Party 26
Statutes Alien Detainee USC 7609

E | 465 Other Immigration
Actions
FOR OFFICE USE ONLY: — Case Number: eo - é
AFTER COMPLETING THE FRONT SIDE OF #0 CV-71, COMPLETE THE INFORMATION REQUESTED BELOW,

 

CV-71 (05/08)

CEVIL COVER SHEET

 

 

American LegatNet, Inc.
www. Forms Workiow.com

Page | of 2

 

 
 

Case 2:11-CuNISEDG Ais ISTRICTICOURT, CENTRAL BSTRICTANECALOPORNIK age ID #13

CIVIL COVER SHEET

 

VHI(a}. IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? Nol] Yes.
if yes, list case number(s}: |

 

 

Vill(b}. RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No [] ¥es
If yes, list case number(s): |

 

 

Civil cases are deemed related if a previously filed case and the present case:

(Cheek all boxes that apply) £] A. Arise from the same or closely related transactions, happenings, or events; or

[] B. Call for determination of the same or substantially related or similar questions of faw and fact; or

(_] C. For other reasons would entail substantial duplication of labor if heard by different judges, or .

{_] D. involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

{X, VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District, California County outside of this District, State if other than California; or Foreign Country, in which EACH named plaintiff resides.
[-] Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go 10 item (b). .

County in this District:* California County outside of this District, State, if other than California; or Foreign Country

 

 

TC Ventures, Inc. and MC Tribeca, LLC - New York

Michael Chow and Mr. Chow Enterprises, Ltd. - Los Angeles MC Miami Enterprises, LLC - Florida

 

 

(b) List the County in this District, California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
[.] Check here if the government, its agencies or employees is a named defendant, If this box is checked, go’ to item (c).

 

County in this District:* . California County outside of this District, State, if other than California; or Foreign Country

 

Giuseppe Cipriani - Foreign Country (Italy)
ignazio Gipriani - Foreign Country (Italy)
Maggio Gipriani - Foreign Country (Italy)

 

¢} List the County in this District; California County outside of this District; State if other than California: or Foreign Country, | in which EACH claim arose.
Note: In Jand condemnation cases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District, State, if other than California; or Foreign Country

 

Los Angeles County

 

 

  
  
 

 
  
 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura San Luis Obispo Counties

Note: In land condemnation cases, use the location of the fad

 

f land involved

X. SIGNATURE OF ATTORNEY (OR PRO PER): Late pril doy 2011

 

 

 

 

BERTRAM FIELDS

 

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
‘or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3 -1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet}

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action

861 HIA Afi claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b}}

862 BL Ail claims for "Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969,
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child's insurance benefits based on disability, (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405{g))

 

 

 

 

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, ag amended.
865 RS] All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
US.C. (®)) | |
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